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                    UNITED STATES BANKRUPTCY COURT
                    SOUTHERN DISTRICT OF MISSISSIPPI

In re:

         JENNIFER ANN CURRY                     Case No.:     23-50239-KMS
         CALVILLO,

               Debtor.                          Chapter:      13


JENNIFER ANN CURRY CALVILLO                                                  PLAINTIFF

v.                                                    Adv. Proc. No.: 23-06005-KMS

U.S. DEPARTMENT OF EDUCATION,
GREAT LAKES                                                      DEFENDANTS
______________________________________________________________________________

                             CONSENT JUDGMENT
______________________________________________________________________________

         Defendant United States of America, on behalf of the Department of

Education, (“Defendant” or “Dept. of Education”) and Plaintiff-Debtor Jennifer Ann

Curry Calvillo (collectively, “the Parties”) stipulate as to dischargeability of a portion

of Plaintiff’s student loan debt:

         1.    On February 24, 2023, Plaintiff-Debtor commenced this adversary

proceeding pursuant to Fed. R. Bankr. P. 7001(6) against the Dept. of Education by



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filing the Complaint seeking to discharge pursuant to 11 U.S.C. § 523(a)(8), Plaintiff-

Debtor’s educational loan debt.

      2.     As of September 13, 2023, Plaintiff-Debtor owed $56,372 to Education,

which represents the sum of the balance of Plaintiff-Debtor’s undergraduate student

loans (National Student Loan Data System (“NSLDS”) Loans 1 through 10).

      3.     As of September 13, 2023, Plaintiff-Debtor owed $220,671 to Education,

which represents the sum of the balance of Plaintiff-Debtor’s graduate student loans

(NSLDS Loans 11 through 18).

      4.     The Parties agree that the Education-held student loans constitute

student loans made to Plaintiff under a program funded in whole or in part by a

federal government unit within the meaning of 11 U.S.C. § 523(a)(8).

      5.     Plaintiff-Debtor alleges that repayment of the Education-held student

loans would cause an undue hardship.

      6.     Upon review of documents, information, and facts that Plaintiff-Debtor

attested to, Dept. of Education determined that Plaintiff-Debtor satisfies the criteria

for a partial discharge due to an “undue hardship” under 11 U.S.C. § 523(a)(8) for

that portion of her student loans represented by NSLDS Loans 1 through 10, based

on Plaintiff-Debtor’s current and future financial condition. Plaintiff-Debtor, if forced

to repay the entire student loan debt would have insufficient monthly income to make

her payment as required, evidencing that Plaintiff-Debtor cannot maintain a minimal

standard of living for herself and her dependents if forced to repay her Education-

held student loans. Plaintiff-Debtor’s current inability to pay the Education-held



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student loans will likely persist for a significant portion of the repayment period.

Plaintiff-Debtor has made good faith efforts to repay her Education-held Student

Loans.

      7.      In order to resolve this matter without the need for further litigation,

the Parties agree that Plaintiff-Debtor should be entitled to a partial discharge of her

Education-held student loans pursuant to 11 U.S.C. § 523(a)(8) and, therefore, have

agreed to enter into this Consent Judgment under the following terms:

           a. The portion of Plaintiff-Debtor’s Education-held student loans
              represented by her undergraduate loans, Nos. 1 through 10, and
              totaling $56,372 as of September 13, 2023, are discharged
              pursuant to 11 U.S.C. §§ 523(a)(8), 346(j) and §727.

           b. The portion of Plaintiff-Debtor’s Education-held student loans
              represented by her graduate loans, Nos. 11 through 18, and
              totaling $220,671 as of September 13, 2023, are not dischargeable
              under 11 U.S.C. §§ 523(a)(8).

           c. Upon entry of this Consent Judgment, each party will bear their
              own costs and fees, including attorney’s fees.

           d. Upon entry of this Consent Judgment, Plaintiff-Debtor releases,
              remises, and forever discharges the United States of America, its
              agencies, agents, officers, and employees, past and present, and
              the Dept. of Education, from all claims or causes of action
              (including administrative claims) which Plaintiff-Debtor, her
              heirs, agents, assigns, representatives, and successors ever had,
              now have, or hereafter may have against Defendant, its agencies,
              agents, officers, and employees, past and present, in relation to
              the partial discharge of the Education-held student loans, all
              except for obligations arising under this Consent Judgment.

           e. Any and all individual taxation consequences as a result of this
              Consent Judgment are the sole and exclusive responsibility of
              Plaintiff-Debtor. Dept. of Education does not warrant or make
              any representation with respect to any tax consequences of this
              Consent Judgment. Nothing contained herein shall constitute a



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             waiver by Plaintiff-Debtor of any right to challenge any tax
             consequences of this Consent Judgment.

         f. This Consent Judgment contains all of the terms of the agreement
            between the Parties and is intended to be and is the final and sole
            agreement between the Parties. The Parties agree that any other
            prior or contemporaneous representations or understandings not
            explicitly contained herein, whether written or oral, are of no
            further legal or equitable force or effect.

         g. The Parties represent and warrant that they have reviewed and
            understand the Consent Judgment and its contents. The Parties
            further represent and warrant that each has the power to execute,
            deliver, and perform their obligations under this Consent
            Judgment; that each has taken all necessary action to authorize
            the execution, delivery, and performance of this Consent
            Judgment; and that this Consent Judgment is enforceable in
            accordance with its terms.

      Now, therefore, upon consideration of the Complaint, the Stipulation of Partial

Discharge previously filed with the Court, and the consent of the Parties as evidenced

by the endorsements below, it is hereby

      ORDERED, ADJUDGED, and DECREED, that, pursuant to 11 U.S.C. §

523(a)(8), the portion of Plaintiff-Debtor’s Education-held student loans notated as

Loan Nos. 1 through 10 are hereby DISCHARGED.

      IT IS FURTHER ORDERED that the portion of Plaintiff-Debtor’s

Education-held student loans notated as Loan Nos. 11 through 18 are NON-

DISCHARGEABLE.



Submitted By:

U.S. DEPT. OF EDUCATION, DEFENDANT

DARREN J. LAMARCA


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JENNIFER ANN CURRY CALVILLO, PLAINTIFF

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